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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

UNITED STATES OF AMERICA
V. Criminal Action No. 20-190 (RBW)
LARRY RUMPH and SAHN WILLIAMS, 5
Defendants. ,
)
ORDER

In accordance with the oral rulings issued by the Court at the status hearing held on
February 3, 2021, via teleconference, it is hereby
| ORDERED that the parties shall appear before the Court for a status hearing on
March 3, 2021, at 1:00 p.m., via teleconference by calling 1-877-873-8017 and entering the
Court’s access code (8583213) followed by the pound key (#). It is further

ORDERED that, as to both Larry Rumph and Sahn Williams, the time from
February 3, 2021, until the status hearing scheduled for March 3, 2021, is excluded under the
Speedy Trial Act, in light of the defendants’ and the government’s agreement to waive the
defendants’ rights to a speedy trial until the next hearing date, and in order to permit counsel to
engage in further discussions regarding how these cases should be resolved, and to allow the
defendants to review the discovery that has been provided by the government.

SO ORDERED this 3rd day of February, 2021.

   

Ss

 

REGGE B. WALTON
United States District Judge
